                  Case 8-18-73177-reg                  Doc 13   Filed 09/05/18    Entered 09/05/18 14:16:59


 Information to identify the case:
 Debtor 1              Claudia Bizzle                                            Social Security number or ITIN   xxx−xx−4051
                       First Name   Middle Name   Last Name                      EIN   _ _−_ _ _ _ _ _ _
 Debtor 2                                                                        Social Security number or ITIN _ _ _ _
                       First Name   Middle Name   Last Name
 (Spouse, if filing)
                                                                                 EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court Eastern District of New York

 Case number: 8−18−73177−reg




                                                              FINAL DECREE


The estate of the above named debtor(s) has been fully administered.




IT IS ORDERED THAT:



         • Kenneth P Silverman (Trustee) is discharged as trustee of the estate of the above−named debtor(s).

         • The Chapter 7 case of the above−named debtor(s) is closed.


                                                                                 s/ Robert E. Grossman
                                                                                 United States Bankruptcy Judge

 Dated: September 5, 2018




BLfnld7 [Final Decree 7 rev 12/01/15]
